                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                )
                                        )
                                        )            Cr. No. 02-10257-MLW
             V.                         )
                                        )
EDWARD VOCCOLA                          )
     Defendant                          )


                                      ORDER

WOLF, D.J.                                                  November 4, 2008


     At a hearing on November 4, 2008, Edward Voccola admitted the

four violations of his Supervised Release alleged in the Violation

Report as amended on October 31, 2008.               For the reasons described

in detail at that hearing, it was orally ORDERED that:

     1. Voccola's Supervised Release is REVOKED as of 10:00 a.m. on

November 12, 2008.

     2.   Voccola    shall,      at   10:00   a.m.    on    November    12,   2008,

surrender    to   the    United   States      Marshal      for   the   District   of

Massachusetts and serve eleven months in the custody of the

Attorney General, to be followed by a term of forty-eight months

Supervised Release on the Standard Conditions and the following

Special Conditions:

             a. Voccola shall pay restitution on a schedule and in a

manner to be ordered by the court after a recommendation by the

Probation Office.

             b.   Voccola   is    prohibited    from    incurring       new   credit

charges or opening additional lines of credit without the approval
of the Probation Office.

           c. Voccola is to provide the Probation Office with access

to any requested financial information.             Such information may

include, but is not limited to, detailed logs of monthly income and

expenditures    and   copies   of   receipts   or   verifications    of   all

expenditures.

     3.   Until   10:00   a.m.   on   November   12,   2008,   the   current

conditions of Voccola's Supervised Release shall continue.                In

addition, Voccola shall:

           a. Surrender any passport in his possession to the

Probation Office on November 4, 2008.

           b. Not leave the Commonwealth of Massachusetts.

           c. Report to the Probation Office in person on November

5, 2008, November 7, 2008, and November 10, 2008.              On all other

days he shall report to the Probation Office by telephone, and give

a truthful and accurate description of his location.




                                                /s/ MARK L. WOLF
                                           UNITED STATES DISTRICT JUDGE
